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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                                        )
LISA PAGE,                                              )
                                                        )
                       Plaintiff,                       )
                                                        )
        v.                                              )        Civil Action No. 19-cv-3675 (TSC)
                                                        )
U.S. DEPARTMENT OF JUSTICE, et al.,                     )
                                                        )
                       Defendants.                      )
                                                        )


             PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO STAY
                             RULE 26(f) CONFERENCE

       Plaintiff Lisa Page files this opposition to Defendants’ motion to stay the requirement to

hold a Rule 26(f) conference, and therefore any form of discovery, while Defendants’ motion for

summary judgment, ECF No. 14, and Ms. Page’s Rule 56(d) motion, ECF No. 20, are pending.

       Federal Rule of Civil Procedure 26(f) provides that, after a civil action is filed, “the parties

must confer as soon as possible” about scheduling and discovery-related topics. Although a local

rule of this Court permits parties to defer that conference until after the defendant answers, no

authority suggests that a defendant can justify freezing all activity in the case other than the

adjudication of its motion simply by filing a pre-discovery summary judgment motion

contemporaneously with its answer.          The Federal Rules are predicated, rather, on the

understanding that after the defendant answers the complaint, the parties are to engage in discovery

to build the factual record necessary to adjudicate the case on summary judgment or at trial. This

case, in which Defendants’ summary judgment arguments turn on their officials’ subjective states

of mind and on their fact-intensive position that a hastily arranged, secretive, after-hours disclosure
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to media of evidence from a pending OIG investigation was a “routine use” of OIG records,

epitomizes the need for that process.

        While no procedural bar precluded the government from seeking early summary judgment,

there is no basis for holding the rest of the case hostage to that motion. The Court should deny the

government’s motion and order the parties to hold their Rule 26(f) conference and move forward

with the case. To the extent logistical issues associated with the COVID-19 pandemic require

particular accommodations for discovery, the parties should include those issues in their agenda

for the Rule 26(f) conference. To date, this Court has not seen fit to enter a general stay of

proceedings in civil cases due to the COVID-19 pandemic. Ms. Page is committed to working

constructively toward practical solutions that alleviate the unusual hardships and burdens of

litigating civil cases at this time.

                                         BACKGROUND

        There are presently three civil actions pending in this Court that relate in whole or in part

to Defendants U.S. Department of Justice’s (“DOJ”) and Federal Bureau of Investigation’s (“FBI”)

improper disclosure of agency records about Ms. Page and former FBI agent Peter Strzok to the

media on December 12, 2017 (the “December 12 disclosure”). Each of these actions is relevant

to the analysis of whether Defendants are entitled to a stay of discovery.

        The Page Action

        On December 10, 2019, Ms. Page filed this action against Defendants DOJ and FBI,

alleging a single Privacy Act count based on the December 12 disclosure. Defendants’ response

to the complaint was originally due February 28, 2020, but the parties agreed on a two-week

extension for Defendants’ response (to March 13, 2020) and a one-week extension for Plaintiff’s

opposition, which the Court granted. Minute Order (Mar. 2, 2020).

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       On March 13, 2020, Defendants filed their answer, ECF No. 15, as well as a motion for

summary judgment, ECF No. 14. That same day, Defendants filed a motion to consolidate this

action with Strzok v. Barr, No. 19-cv-2367 (ABJ), “for all purposes.” Mot. to Consolidate, ECF

No. 16-2, at 1, 6.

       Because this case was no longer exempt from discovery obligations following the filing of

Defendants’ answer, see Local Rule 16.3(b), Ms. Page’s counsel contacted government counsel

on March 26, 2020, to schedule the Rule 26(f) conference. See Decl. of Amy Jeffress (“Jeffress

Decl.”), ECF Nos. 20-1, 21-2, ¶ 4. Government counsel advised that Defendants’ position was

that “a Rule 26(f) conference would be premature at this point” and “the case should be resolved

without discovery for the reasons stated in the motion for summary judgment.” See id.

       On March 30, 2020, Judge Jackson granted the government’s motion to consolidate, but

only “insofar as it requests consolidation for consideration of the pending dispositive motions”—

namely, the motion for summary judgment filed in this action and the motion to dismiss or, in the

alternative, for summary judgment then pending in the Strzok action. Order, ECF No. 19, at 2.

The consolidation order notes that, “[a]fter the motions have been resolved, the Court will take up

the question of consolidation for purposes of discovery related to any Privacy Act claims that

remain.” Id. The order further states that, “[i]n the meantime, the parties are encouraged to explore

the possibility of a negotiated resolution, and they may notify chambers at any time if they are in

agreement that they would benefit from the assistance of a neutral mediator.” Id.

       On April 3, 2020, Ms. Page filed her opposition to Defendants’ motion for summary

judgment, ECF No. 21, as well as a motion to deny or defer consideration of Defendants’ motion

for summary judgment under Federal Rule of Civil Procedure 56(d), ECF No. 20.




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       On April 7, 2020, counsel for Ms. Page renewed her request for a Rule 26(f) conference.

On April 21, 2020, counsel for the government reiterated its position that “a Rule 26(f) conference

would be premature at this time.” Later that day, Defendants filed the instant motion to stay the

requirement to hold a Rule 26(f) conference while the motion for summary judgment and Rule

56(d) motion were pending. ECF No. 22.

       Ms. Page has consented to the government’s request for a four-week extension to file its

reply in support of the motion for summary judgment and a three-week extension to file its

opposition to Ms. Page’s Rule 56(d) motion. The Court granted the extension request, setting

Defendants’ reply and opposition deadlines for May 11, 2020. See Strzok, Minute Order (D.D.C.

Apr. 9, 2020). Absent further extensions, briefing is scheduled to conclude on May 18, 2020. See

L.R. 7(d).

       The CREW FOIA Case

       CREW filed its case against DOJ on January 3, 2018, just weeks after the December 12

disclosure. That suit “challenges the failure of [DOJ] to disclose to CREW communications

concerning DOJ’s decision to invite reporters to DOJ on December 12, 2017, to share with them

private text messages from [Ms. Page and Mr. Strzok].” Citizens for Resp. and Ethics in Wash. v.

U.S. Dep’t of Justice, No. 18-cv-0007 (TSC), First. Am. Compl., ECF No. 4, ¶ 1 (D.D.C. filed Jan.

16, 2018). Following the filing of CREW’s suit, DOJ produced various records to CREW, and

both DOJ and CREW have posted documents from those productions on their websites. See U.S.

Dep’t of Justice, https://www.justice.gov/file/1223146/download;1 CREW Requests DOJ Records


1
  To access this file from DOJ’s “FOIA Library” for the Office of Information Policy, visit
https://www.justice.gov/oip/available-documents-oip; navigate to section “FOIA-Processed
Documents,” subsection “General Topics of Interest,” and category “Records Concerning Sharing
of the Content of Text Messages between FBI Agents Peter Strzok and Lisa Page”; and click the
link titled “Interim (January 3, 2017 – January 4, 2018).”
                                                 4
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on Release of Strzok and Page Texts, Citizens for Responsibility & Ethics in Washington, Dec. 13,

2017,      https://www.citizensforethics.org/foia/expedited-foia-request-department-justice-office-

inspector-general-office-information-policy-fbi-leak/.

        The Strzok Action

        Approximately a year and a half after CREW filed its lawsuit, Peter Strzok filed an action

against DOJ, FBI, Attorney General William Barr (in his official capacity), and FBI Director

Christopher Wray (in his official capacity). Mr. Strzok’s complaint asserts a Privacy Act claim

based on the December 12 disclosure, as well as various constitutional claims. See Strzok, Compl.,

ECF No. 1, ¶ 5 (D.D.C. filed Aug. 6, 2019). Defendants have moved for dismissal or, in the

alternative, summary judgment as to Mr. Strzok’s constitutional claims and summary judgment as

to his Privacy Act claim, see Strzok, ECF No. 30 (D.D.C. filed Nov. 18, 2019), and that motion

has been fully briefed since January 31, 2020.

        Defendants in that case have not yet answered Mr. Strzok’s complaint and will not be

required to do so until after the Court decides the partial motion to dismiss. See Fed. R. Civ. P.

12(a)(4). Therefore, the Strzok case is exempt from discovery obligations under Local Rule

16.3(b).

                                      LEGAL STANDARD

        “The decision whether to permit discovery to proceed while a threshold, dispositive motion

is pending is both case-specific and committed to the discretion of the district court.” Sai v. Dep’t

of Homeland Sec., 99 F. Supp. 3d 50, 59 (D.D.C. 2015). Courts must “weigh competing interests

and maintain an even balance” in deciding motions to stay discovery. United States v. Honeywell

Int’l, Inc., 20 F. Supp. 3d 129, 131 (D.D.C. 2013) (citation omitted).




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                                          ARGUMENT

       There is no general exemption from discovery obligations for cases involving pending

dispositive motions, and Defendants have not shown that a stay of discovery is warranted here.

This Court should deny Defendants’ request for a stay because: (1) the applicable rules and case

law counsel against it; (2) a stay of discovery would prejudice Ms. Page; (3) no inconsistencies or

inefficiencies will result if the parties conduct discovery in this action before discovery commences

in Strzok v. Barr; and (4) the parties should address issues related to the COVID-19 pandemic by

negotiating reasonable accommodations, rather than suspending the case altogether until those

issues resolve.

       First, Defendants’ position that a pending dispositive motion justifies a stay of all

discovery activity is vastly overstated. See Mot. to Stay Rule 26(f) Conference, ECF No. 22, at 1,

3–4. Neither the federal nor local rules contain a general exemption from discovery, scheduling,

or meet-and-confer obligations for cases in which a dispositive motion has been filed—let alone

where, as here, the defendant filed the dispositive motion concurrently with its answer and prior

to any discovery or case scheduling activity. The Federal Rules of Civil Procedure provide for

discovery to commence shortly after the initiation of the case and for the parties to confer about a

variety of important topics “as soon as practicable,” regardless of whether a dispositive motion is

pending. See Fed. R. Civ. P. 26(f)(1). Likewise, though Local Rule 16.3 exempts certain cases

from these obligations, the relevant marker is whether Defendants have filed an answer, not

whether dispositive motions have been resolved. See L.R. 16.3; see also Mot. to Stay Rule 26(f)

Conference, ECF No. 22, at 3 (acknowledging that Defendants filed their answer on March 13,

2020, and, absent a stay, have an obligation to confer under Rule 26(f)).




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       To prevail on their motion, Defendants must make a case-specific showing that a stay of

discovery is warranted, see Sai, 99 F. Supp. 3d at 59, but the very cases they cite show that a stay

would be inappropriate here. In Chavous, for example, the court expressly acknowledged that

“discovery should precede consideration of dispositive motions when the facts sought to be

discovered are relevant to consideration of the particular motion at hand.” Chavous v. D.C. Fin.

Responsibility and Mgmt. Assistance Auth., 201 F.R.D. 1, 3 (D.D.C. 2001) (quoting Coastal States

Gas Corp. v. Dep’t of Energy, 84 F.R.D. 278, 282 (D. Del. 1979)) (emphasis added); see also id.

(explaining that “a trial court could well be found to have abused its discretion by staying discovery

where it is necessary for the party opposing summary judgment to develop ‘additional facts’”

(citing Moore v. United States, 213 F.3d 705, 710 n.3 (D. C. Cir. 2000)). Similarly, in the Sai

case, the court emphasized that “there is good reason not to enter a stay ‘where discovery is

necessary for the party opposing summary judgment to develop ‘additional facts.’’” Sai, 99 F.

Supp. 3d at 58 (quoting Chavous, 201 F.R.D. at 3). In both, the court granted the motion to stay

only after explaining why the facts were distinguishable from these scenarios. See Chavous, 201

F.R.D. at 3; Sai, 99 F. Supp. 3d at 54, 57–58; De Baca v. United States, 403 F. Supp. 3d 1098,

1130–31 (D.N.M. Apr. 30, 2019) (denying motion for stay and distinguishing Chavous and similar

cases as “situations . . . in which the nonmovant requires or desires no discovery”).

       By contrast, in cases where the discovery relates to the facts underlying the dispositive

motion, courts have rejected attempts to stay discovery. See, e.g., Byrd v. Pyle, No. 87-cv-3547,

1988 WL 40300, at *1 (D.D.C. Apr. 20, 1988) (denying motion to stay where a Rule 56(d) (then

Rule 56(f)) motion was pending); Fugett v. Sec. Transp. Servs., No. 14-2291-JAR, 2015 WL

13631245, at *1 (D. Kan. Feb. 20, 2015) (denying defendant’s motion to stay discovery where

defendant’s summary judgment motion “relie[d] on” an affidavit by an individual whom plaintiff

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“ha[d] not had the opportunity to depose” because “[s]taying discovery would allow [defendant]

to set forth evidence [plaintiff] has not had the opportunity to challenge or test”); Swepi, LP v.

Mora Cty., N.M., No. CIV 14-0035 JB/SCY, 2014 WL 7474084, at *24 (D.N.M. Dec. 19, 2014)

(denying motion to stay because “discovery may be beneficial to the Court’s resolution of the JOP

Motion [for Partial Summary Judgment],” where “[d]iscovery [could] assist” the parties in proving

disputed facts).2

       Second, contrary to Defendants’ argument (at 7), the fact that Ms. Page has filed a partial

response to Defendants’ motion for summary judgment in no way mitigates the prejudice Ms. Page

would suffer from a general stay. Defendants’ argument overlooks the concept at the heart of Rule

56(d): if the plaintiff is not in a position to “present facts essential to justify its opposition” to

summary judgment—as here, where no discovery has occurred—the motion should be deferred or

denied, and time should be allowed to take the necessary discovery. Although Defendants insist

it is too late for discovery to “aid Plaintiff in responding to the pending motion,” Mot. to Stay Rule

26(f) Conference, ECF No. 22, at 7, Ms. Page may of course seek leave to supplement her response

with new information as long as the motion remains pending. In essence, Defendants would have

the Court assume that they are going to prevail on their pre-discovery summary judgment motion

without any need, at any time, to conduct any form of discovery. But that approach is not

consistent with how the Federal Rules of Civil Procedure work.




2
  See also Scroggins v. Air Cargo, Inc., 534 F.2d 1124, 1133 (5th Cir. 1976) (noting that stay of
discovery pending resolution of summary judgment is potentially inappropriate where “plaintiff
ha[s] been denied discovery which related to the summary judgment motion”). Cf. Patterson v.
U.S. Postal Serv., 901 F.2d 927, 929 (11th Cir. 1990) (affirming district court’s stay of discovery
pending resolution of dispositive motion where “the district court had sufficient information before
it upon which to rule” and “further discovery was not likely to produce a genuine issue of material
fact”).
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       Moreover, under Defendants’ proposed approach—namely, that the Court should grant a

stay of discovery, deny Ms. Page’s Rule 56(d) motion, and grant the motion for summary judgment

“on the present record,” see Mot. to Stay Rule 26(f) Conference, ECF No. 22, at 4—Ms. Page’s

lack of access to discovery constitutes an ongoing harm. The fact that Defendants chose to file

their motion to stay after the deadline for Ms. Page to file her opposition does not end her

entitlement to discovery or extinguish the associated prejudice. To hold otherwise would be

especially unfair where Ms. Page requested a Rule 26(f) conference prior to her opposition

deadline.

       Discovery is also needed for reasons independent of the pending motion. For example,

discovery is necessary to enable the parties to “explore the possibility of a negotiated resolution”

and consider whether “they would benefit from the assistance of a neutral mediator,” as directed

by Judge Jackson in her order consolidating this action with the Strzok case “for consideration of

the pending dispositive motions.” Order, ECF No. 19, at 2. Ms. Page also needs discovery to

develop her own motion for summary judgment. Absent a case-specific showing that a stay of

discovery is warranted, see Sai, 99 F. Supp. 3d at 59, Ms. Page is entitled to proceed with discovery

to develop the underlying facts in the manner provided for in the federal and local rules.

       Third, proceeding with discovery in this action would not create any “inconsistencies and

inefficiencies in this case and Strzok, if Judge Jackson does ultimately consolidate the cases for

the purposes of discovery.” Mot. to Stay Rule 26(f) Conference, ECF No. 22, at 5. If anything,

this approach is likely to advance discovery in Mr. Strzok’s case by giving the government a head

start in investigating and collecting documents related to one of the multiple claims it will need to

address. It will also promote efficiencies by isolating the discovery on Ms. Page’s single, narrow




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claim from Mr. Strzok’s more complex case involving multiple constitutional claims.3 If and when

Mr. Strzok’s case proceeds to discovery, the government can simply provide any relevant

discovery compiled for purposes of this action to Mr. Strzok.4

       This approach is fully consistent with the Court’s consolidation order, which consolidated

the matters “for consideration of the pending dispositive motions” only. Order, ECF No. 19, at 2.

Once the dispositive motions are decided, Judge Jackson “will take up the question of

consolidation for purposes of discovery related to any Privacy Act claims that remain.” Id. In the

interim, discovery in Ms. Page’s matter should proceed as provided in the federal and local rules.

       Fourth, Ms. Page agrees that the COVID-19 pandemic creates unique challenges for

litigants, and that it may not be feasible to proceed with discovery in exactly the same manner as

in normal conditions. But the parties should resolve any complications through negotiated

accommodations, rather than a wholesale suspension of the parties’ meet-and-confer, scheduling,

and discovery obligations. Indeed, this Court could have, but has not, entered a general stay of all

proceedings in civil cases. As another federal court recently explained:

       The Court is not unmindful of the unprecedented impact this pandemic is having
       on businesses and society . . . [but] the Court does not find a one-size-fits-all,
       blanket stay or extension of deadlines appropriate for all the cases now before it.
       Depending on the stage of the litigation, attorneys can still file pleadings and brief
       legal issues, parties can still exchange quite a bit of discovery, and parties can
       meet and confer, remotely, to discuss the status of the case, among other activities.
       There is no reason for all litigation to grind to a halt in many cases. Indeed,
       allowing that to happen will only exacerbate, in many cases, the detrimental effects
       of this crisis.

3
  Mr. Strzok’s case is currently exempt from discovery obligations under Local Rule 16.3(b),
which provides that “[t]he requirements of this Rule and of Fed. R. Civ. P. 16(b) and 26(f), shall
not apply in cases in which no answer has yet been filed.” Thus, discovery cannot begin in that
case until: (1) briefing on dispositive motions concludes on May 18, subject to further extensions;
(2) the Court decides the dispositive motions; (3) defendants in the Strzok case file their answer;
and, (4) following the filing of the answer, the parties hold the Rule 26(f) conference.
4
  The parties can address the question of when depositions of shared witnesses should be conducted
when that issue arises.
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Horning v. Resolve Marine Grp., Inc., No. 19-60899-CIV, 2020 WL 1540326, at *1 (S.D. Fla.

Mar. 30, 2020) (emphasis added).

       Ms. Page is prepared to work with the government to ensure that discovery is conducted in

a manner that is reasonable and does not pose unnecessary safety risks, including following

practices that the federal government, private attorneys, and the courts have already widely

adopted: engaging in remote work to the extent possible; deferring non-essential and non-urgent

activities that could pose a safety risk; and remaining flexible in the face of changing conditions.

       The government’s own declaration demonstrates why its motion for a categorical stay

should be denied. That declaration cites potential limitations on the FBI’s ability to access

information from certain classified FBI systems that cannot be utilized remotely. See generally

Decl. of Nancy H. Wiegand, ECF No. 22-1. But the FBI is only one of two defendants in this

case, and Defendants previously argued that the FBI does not belong in the case at all. See Mem.

in Support of Mot. for Summ. J., ECF No. 14-1, at 13 (insisting that “the Department—not the

FBI—was responsible for the December 12, 2017 disclosure”). Similarly, Defendants’ summary

judgment motion relied on three self-serving declarations to attempt to explain the circumstances

of the December 12 disclosure, but none of those declarations was from the FBI; they were all

signed by current or former DOJ officials. As a result, the document and deposition discovery

necessary to test these accounts will likely concentrate predominantly on DOJ, not the FBI, and

Defendants have presented nothing suggesting that DOJ has any trouble accessing relevant

information. Finally, even as to the FBI, and even by its own terms, the FBI declaration is already

outdated and provides little guidance as to what reasonable accommodations may be necessary

and warranted in the coming weeks and months in this rapidly evolving environment. See, e.g.,



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Decl. of Nancy H. Wiegand, ECF No. 22-1, ¶ 8 (referencing restrictions that expired on April 27,

2020).

         Notably, the government cannot dispute that it has at least some responsive information

readily accessible. The government has already completed a level of fact development and

investigation that it considered sufficient to move for summary judgment based on three sworn

declarations, in both this case and the Strzok case.” Mem. in Support of Mot. for Summ. J., ECF

No. 14-1, at 13. In addition, the government has filed an answer in this action, which required it

to investigate and admit, deny, or qualify each of the allegations in Ms. Page’s 89-paragraph

complaint. The notion that the government nevertheless remains too unwitting of the facts to begin

the process of initial disclosures—e.g., of names of witnesses and categories of documents the

government may use to support its defenses, see Mot. to Stay Rule 26(f) Conference, ECF No. 22,

at 5–6—therefore does not withstand scrutiny.

         Finally, in connection with the CREW FOIA lawsuit filed more than two years ago, the

government has already collected and produced hundreds of pages of documents related to the

December 12 disclosure. Though these productions are heavily redacted and are not exhaustive

of the materials Ms. Page will ultimately seek, they confirm that the government long ago

completed many of the key steps that would be required here—among them locating the relevant

document custodians, collecting documents related to the December 12 disclosure from those

custodians, and conducting reviews for responsiveness and privilege. Even the simple production

of unredacted copies of documents that have already been compiled and that were redacted for

FOIA purposes—materials that the government already has in its possession and could produce

with a few keystrokes—would help move this action along. In sum, nothing the government has

submitted suggests that it is incapable of either collecting the basic information required for

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purposes of the Rule 26(f) conference or subsequently providing some discovery to Ms. Page, such

as initial disclosures and unredacted copies of previously produced documents.

                                       CONCLUSION

       This Court should deny Defendants’ motion to stay the requirement to hold a Rule 26(f)

conference while Defendants’ motion for summary judgment is pending.


Dated: May 5, 2020                                 Respectfully submitted,

                                                   /s/ Amy Jeffress
                                                   Amy Jeffress (D.C. Bar No. 449258)
                                                   Robert J. Katerberg (D.C. Bar No. 466325)
                                                   Kaitlin Konkel (D.C. Bar No. 1021109)
                                                   ARNOLD & PORTER
                                                     KAYE SCHOLER LLP
                                                   601 Massachusetts Avenue NW
                                                   Washington, DC 20001-3743
                                                   Telephone: (202) 942-5000
                                                   Fax: (202) 942-5999

                                                   Counsel for Plaintiff Lisa Page




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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


                                                )
LISA PAGE,                                      )
                                                )
                    Plaintiff,                  )
                                                )
       v.                                       )        Civil Action No. 19-cv-3675 (TSC)
                                                )
U.S. DEPARTMENT OF JUSTICE, et al.,             )
                                                )
                    Defendants.                 )
                                                )


                                  [PROPOSED] ORDER

      Upon consideration of Defendants’ Motion to Stay Rule 26(f) Conference, the parties’

respective response and reply briefs, and the available record, IT IS HEREBY ORDERED that

Defendants’ motion is DENIED.

      IT IS SO ORDERED on this the ____ day of _________, 2020.




                                                United States District Judge
